Case 09-10138-MFW Doc 4118-4 Filed 10/07/10 Pageiof8

Exhibit B
Case 09-10138-MFW Doc 4118-4 Filed 10/07/10 Page2of8

JUN-16~2010 17:09 TORONTG (MET 4tG: ‘790 sand P.004

Minintry of The Attomey Gereral Mintatere:dy Precurmur penal

Crow Law Office « Oxiina! dela Gayoma = deo etn! > Onta rio

x Ber tiiees Oo aoe
re
Feentl On veaakt Tero ON MSG 2K4
Tal: (416) 3284800 Tels (418) S2E-4600 ‘Direct Lins: 416) 326-4585
Fat! (418) 228-4658 Fad (418) 226-4658 imal: Amanda, RubaszekQertaria.ca
June 16, 2010
SENT BY COURIER AND FAX: (416) 863-0673
Ms. David Porter
McCarthy Tetrault LLP
Box 48, Suite 5300
Toronts Dorninion Bank Tower
Toronto, ON MSK 186
Dear Mr. Potter;

Re: 2% Frank Duns, Douglas Beaty and Michael Gollogly
Your letter of June 1, 2010 (the 25~itemi chart)

‘We have now. had an opportunity to’ consider the balance of your letter dated Junc 1,
2010, Specifically, with respect to the 25-item chart which you say summarizes the
outstanding disclosure requests, please see the attached chertoontaining our response,

We are also attaching two documents that are resporisive to items #6 and #17 on your
chart and have enclosed a CID which is responsive to item #7 (the day-timer), We hope:
that this iv. of assistance to you.

(Sent bp Cerrier anil Fox No. (476)-204-1849)

Ms, Sharon Lavine

Mr. Robin McKechney

Greenspan Humphrey Lavine

15 Bedford Ra,

Toronto, ON MSR 217

(Sent by Courier and Fax No. (416) -- 863-1990)
Case 09-10138-MFW Doc 4118-4 Filed 10/07/10 Page 3of8

446 796 830d

TORONTO CMBT

eid

JON-16-20i0

DISCLOSURE REQUESTS.AS ITEMIZED IN JUNE 1, 2010 DEFENCE-CHART

2009-03-2-4

Croven has bean-disclosed

Misdosare Regiested by Defence: ae ot Croven Response Oat oo Fotew Up by: Defence
Secretary's notes (ar the audit committee meeting of 2003-01-05 2008-10-31; | Refusal to Wentify specific items. ABthis 2009-01-35
2009-01-27; |information. which is. in Use possession of the
2007-69-25 | Crown has been disclased .
Request made to Nortel 2009-11-04. Please grovide Requested Disclosure
(2020-06-01)
2903-01-09 notes: STNEOZ0017 (NINDEQUOD1- 2010-06-25
DINDOOODOS}, which will be disclosed on 2010-07-
i
Nick DaRome’s calendar and travel plans fos Jan. 2003, Incl company bog for )2008-10-3): |Sefusal to identify specific tems, Allthts | 2009-01-19
Jan. 12, 2003 2009-C1-27;, |informalion whichis in the possession of the
2009-04-24 |[Crovmn tas been disclosed
Requestmade-to Hertel [2009-22-04 Please provide Requested Disclosime
(2010-06-01)
[Nortel didtnet meet the request, 2010-06-16
‘Asonssments provided tc. Nortel by Lovells dated Nev. 13, 2002, Der-17, 2008-10-31; |Refusal to identify spacitic Items. All this : 2009-91-15
2002, and Dec. 20, 2602 re: 360 Networks litigatlon. 2009-04-27; bis whitch Js In the possession of the

serie Nostel

2003-11-04

Please provide Requested. Disclosure
(2010-06-01)

These docarents can be located fa $3-as follows:
Nov 11,.2062 S¥¥,03480198-03380205; Dec 17,
2002 ST # 033NO2 92-03380233; Dec 20, 2002 ST:
803380234.

2010-06-15

Case 09-10138-MFW Doc 4118-4 Filed 10/07/10 Page4of8

R00

416 790 3209

TORGNTO (MeT

17elt

JIN-16-2010

DISCLOSURE REQUESTS AS ITEMIZEO IN JUNE 1,.2010 DEFENCE CHART

Olsclosure Requested by Defence:

@ate(s} of
Request

Crown Response

Date af Gown
Response

Fallow Up by Defence

Laura Wertheimer on O6t.3-¢,2006 In Washington:
ACMP meeting with WCP on lan 23-24 2006;
RCMP, SEC, OSC and DQ) meeting wiih WCP.on Huy

Notes relating to all RCMP interviews with WCP ind.

[AMP meeting with

38; 2008

2008-10-33;
200%01-27

Refusal to Wentify specific itenis, All this
information which ts in the possession of the
Cron has been discloses.

2009-01-19

Pease provide cequested disclosure:

Please identify the indivietuals who.
attended the meetings, anc if their nates
have been disclosed, Ure Iccation of their
notes in the disclosure. (2010 06-03)

and 2006-20-04 RCMP Interview related
doaiments of Laura Wertheimer, which indudes

bindey with questions and doaiments referred ta
during the Interview = documents were distlosod
pri 2008-06-25;

[MET Attendees for 2006-1(03,04 meeting: OO!
Beverly Wilton, Set. Marini, Set. Burk, Sgt.
Saumdets, FA John Douglas.

Sat. Bark’s note found in STA91061244 (Disclosed
on 2008-05-26]

|Sgt. Saunders* note found in STH91020158
{Disclosed an 2008-12-01)

Sst, Marini's note foundin STASLS7 0032
[Disclosed on 2008-06-26);

$1W90200415 contains investigative planring for
the 2006-01-23,24 mecting.

$7#902004 20 contains Sstof meeting attendees.
STH91L061152 contains Sgt. Burk's Interview
nobes.:

In attendace al meeting with WOP on Now 1B,
2004, Supt. Hannaford, Set. 0, Bowe, Sgt. L.
Lebowits and John Douglas at offices of SEC
Notes located 51991930001 - 91030011.

2010-06-16

transcripts and notes, incl. teleglicne Interdews

Ali material pertaining to all intecdews conducted by WCP. Including

2008-10-31;
2009-91-27;
2QOE- 09-24

Refusal to identify spetillc items. All this
information whith is In the pasession of the
Crown has been disclosed

2009-01-19

Request made to Hartel

2003-13-04

Please provide Requested Oisclosuré
(2010-06-01):

Marte! didnot meet the requeit-

2010-06-16

Page?

Case 09-10138-MFW Doc 4118-4 Filed 10/07/10 Page5of8

TORONTG (MET

F004

416 790 8209

L?eLo

JUN-16-23010

DISCLOSURE REQUESTS AS ITEMIZED IN JUNE 1, 2040 DEFENCE GHART

Cawthérne, and Tamassina {r, 50007448), which states ‘allached {sthe most

Concomante, but onty 3 4. ol 3 pages was located.

Olsclosuré Requested by Defence Fer Croven Response ; eee Follow.Up by Geleace
Transcripts of meetings with Harrison on Nov. 23 and Nov 39, 2007 2008-10-32, [This jntormation |s contained within Lhe notes of 2000-91:.19 The notes of Kevin Burk.da eat
peut Buth include the ‘presentation’ given to
Haiejson on these dates, Please
6 provide the requested disclosure,

(2010-06-01).

Index of Bap Harrison wriexview Binder is 2030-06-15

attached:

11. Macy Crass Daytimer 2008-10-31; |Refusal to identity specificirems. All this 2009-01-19
2009-01-27; information which isin the adsséssion of the
2009-09-24 |Crown has been disclosed.
Have identiled the document! by searching in 2009-61-19
Supertext - tena g375
7 Request to Nariel for. other dates 2009-13-04 Flease provide requested disclosure.

{2010-05-01}

Sen StUGOAN0AG [To be di.ciased an 2010-07-45) -|2019-06-26

ACD contalning day-timer.4s attached;

Nortel.does not have Marth 2003 19 Dec 2¢fis

day-Hmer

Attachment io the June 13, 2003 email trom Chris Alien ja Don Haihway, 2009-51-27 |Crown provided route te finding the attachment In} 2002-02 09 Please contirm with D&T that this Is

the correct attachment and giease
provide all 3 pages, (2010-06-02)

$ |recent outloak/farecast for dicussion at our meating next Tuesday.”
/ f¥ot avaiable 2010-06-16
tem #112, p. 01120168 appears to dé a D&T working paper. Under the 2009-01-27 |Crown states IMET searched for but could not 20094)2-05 Please follow.up with D&T. (2010-06-
9 heading "Genuity Product Credits 523M", the documen: states in the last fc sucha document "Based on theabove, Ch)
kine: “This amoumt has been brought up in the Scorsheet {sic} @2240'as.a softl this Item is patio (MET’s possessian."
provision.” Please provide the document which | ncludes the 'Scoveshect Not avaliable 2010-06-16

10/D&T summary notes/memo far the Optical, Wireline, and Enterptise balance

Exhibit Iter 5, Pg. Serial 102352 (4. 15 the Wireless QU 2003 balance sheet
raviewr. Please provide the D&T summary notes/memia of this session, The

2009-01-27

Crowm states that eas ches have falled to. identify
the OXT summary. ‘notes of this session. “Based
on the above, these items are nat in IMET's

2009-02-09

Pease follow up with D&T. (2010-06-
0x}

Is

Interview transoripts will be disclosed on 2020-074

sheet reviews have been disclosed. possession.” 1
Not avadedle 2010-06-16
Disclose all niaterial in possession ar contrat af Crown In relation to 2009-04-08; |As additional statements are cbtalned they will be | 2009-12-17 Please take stens to ottain and
prongsed witnesses trona wee, Huron, E&Y, BCD, and other proaosed Crown [2009-11-12 disclosed disclose these materials. (2000-06-01)
4 witnesses for whom wehave received. ccthing, se ,
Ken Taylor, Ken Crassoa and Datilne Blandina 2010-06-16

Paga 3
Case 09-10138-MFW Doc 4118-4 Filed 10/07/10 Page6of8

P 00%

4t6 790 gBOd

TORONTO [MET

72th

JUN-16-2010

DISCLOSURE REQUESTS AS ITEMIZED IN JUNE 1, 2010 DEFENCE CHART

fron Noxtel, Cogy by atigcdred

3
Disclosure Requested by Defance ae : Crown Response pee Follow Up hy Delence
Pravide cleat copy of these documents (poaz quality scan) 2009-04-08 |No fesponse Please provide requested disclosure.
(ioc#02040408-33, fohn Caithorne’s putes from February 27,.and Marth 8, {2010-06-01}
42) 3004 Crown received the documents os they appeor ts [2010.08 16
Dort02646468C-5, John Cawiho ne's ates from Apeit 13, 2004, Super7ext databosé.
[Please obtain frlm Nortel and disclose to the defence the ariginal electronic [2008-09-24 |Request niade to Nortel 200%.11-04 Pease provide requested disclosure.
13] version of *Adjustraents: Data for 2003" fourel at p. serial 01180043 . (2020-06-01)
(Nortel did not. meet the vequest. 2010-06.:16
Please objain fram Morte! and disclose ta. the defence the items requested by|2009-09-24 |Request made to Nortel 2008-11-04 Please provide requested disclosure
IMEX trom Nestel under cover of letter dated December 3, 2007 [pg-serial (2020-06-51)
95700026). Paint 44 of the fetter Includes the fallowing:
4 - Bist of telephone interviews comtipleted by WOR:
- Summaries cormpteted for WEP telephone inlerviews;
- document binders presented during each Intecview.
Worcel did not mee? the request. 2010-05-16
The abave-refetenced Jéiter from IMET to Nortel dated Qecember 2, 2607  ]2009-09-24 |Request made to Nortel 2009-11-04 Please pravide requested disclosure.
{ng. serial 95700026) at Point #12 states: "Question: Computer Conunulty, # 42.010-06-01)
15 [Harrison tn Dans, Mezon to Sledge: Who wlll say they assumed control.”
Please disclose.all malecial provided by Nortel in response.to this request:
Marte? did not meek the request, 2010-06-16
Please abtain from Nerlel atid disclose to the defence the missing Secretary's {2008-09-24 |Request made to Nortel 2009-22-04 Please provide requested disclosure
notes for the NNC Audit Committes meetings. In addition to those from (2010-06-01)
January, 2003 {already requested}, please seek the following notes from 2003-01-09 notes: STHGO20017 {NNDOOO001- [2010-96-16
Nortel, which we could nol locate In the disclosure: NeDoceONS) a oe
~Seccetasy's nates from the NNC Audit Committee meeting of February 27, 2003-02-27 notes: 5186020025
epee scape Sierusiaim mesecnorsanseoeciseanrcttie (hNDD00N7-NNOGO0010}
-Seeretary's notes from the NNC Audit Committee meeling of March 10, 2003-93-10 notes: ST¥60D20030
Pu: - . {NNDOG00L1-NND900017)
+: Secrelary's noies from the NNC Audit Commitee meeting af May 9, 2003. 2003-05-09 notes! $T¥6020098
INNDQNDIIS-NNDEODG23).
“All documents mentioned cbeve will be
disclosed.on 2020-37-15
Please provide. clean origina? copy fram Noitel of Ihe Secretary's notes from|2009-09-24 [Crown states il [s easily vewed; sameas ether —]2009-11-05 Plea te provide requested disclosure.
ihe NNC Audit Committee meeting of Anril 23, 200%. The version In ages (2010-06-01)
17| Concordance. at p. 4 {NNE 00377714), appears ta he poorly copled ar to have
@ portion of the text covered up, and is difficult to reac, dance copy fsthe only copy we received [2010-00-25

Page 4

Case 09-10138-MFW Doc 4118-4 Filed 10/07/10 Page7of8

P,006

416: 790 8203

t?ri4

DISCLOSURE AEQUESTS AS ITEMIZED IN JUNE 41,2010 DEFENCE CHART

Disclosure Requested by Defence

Date{s} of
Request

Crown Response

Response

Date of Crown

Follow Up by Defence

48

We have come across sevetal documents with Mlogical dates, which bring.
info question the accuracy sadfor integrity of the electronic disclosure
materials. Please seek the original versign from Nortel of the following
documenis, ané please seek from Nortel an explanation as to how the dates
came to be changed on these documents:

— pa, Serial 3300119 -32001 26, ‘LE Mezon - List of action Hears’. Thikitem is
dated 1/5/2003, and Is from John Caw|horne's files{DT.Preduction to ACMP
FDTSOOAL5). _ Please request and provide the origl nal from Nortel and/or
D&T.

~ Nortel. document ‘L? Mezon - List of Action Items’ listed as NNE 000391562,
with the date 4/29/2032. found in the Concordance discfosure.. Please
request snd provide thé o/iginal fram Nartél_

- HNE010225650, Nortel dacument.enti ed “Q2-Priorities™. This docunjent
shows the date of '9/5/2003' corssed out and replaced with 'S/28/2037". The
document is found |n the 26th Concordance database (linked to
Itemraumi05}

2009-09-24 [Bequest made to Nortel

2009-11-04:

Please provide requested disclosure:
(2010-06-01)

Montel died nol meet the request.

2010-05-16

Please produce,Bcian Hagrison's calendar and/or day-planaes. A search of
the Supertext disclosure for these tenms.reveals only te RCMP “Assistance
Request Technological Crime” report dated Ocober 13, 2006, which lists

2009.09.24

Crown dees ant believé calendar of day ofanner
has bean produced by Nortel for Harrigan; 3 pages
ofa calendar attached te elter; request

2009-11-04

Please provide requested disclosure.
(2040-06-91)

TORONTC [MET

JUN-16-2010

19] "Hantson & Calendar”, and “Hantison & Day Planner’ as eams.lo he wed to fonwardéd to Nortel
search the received database, hard-drives, CD's, ete; JEhis calendar 35 nat torte) did not meet the cequest. 2010HR 16
includes (n the disclasure materials, please request same frem Nor tel onan
urgent basis.
Please request refi Nortel the information rela ning lo the D&T review of tl ve 12009-0224 |Request made to Nortel 2008-11-D4 Please provide requested disclosure.
releases from ike Optical business unit during the. charge geniod, and fram : (2010-06-61)
26] the Wireless business unle in. qa 2003 {this information, relating. to Wireless
Q1 2003, is included in the distlosure).
Nastel did rot meet the request. 2010-06-15
Please cequest that Nortel provide the complete setof onlginal charts which [2009-05-24 |Requesl made 1a Nortel 2098-11-04 Please provide requested disclasure.
were part ol the Becemher £7, 2002. Wireless Cabinet meering presented by : (2010-06-01)
23m Kinney, Whei'eas Pg. sérial 60180501 indicatos that "G4 provision
release /management" would bé discussed, therais.no char allached on this
Bubject. Mastet did not meet the request. 21-06-16 |
Pleate provide a'copy.of the original Ceriification letters, Representation 7003-09-24 |Request made to Mortel 2005-11-04 Mease provide requested ditclosure.
op (Letters, and SOX Cestilication letters from Q2 2003 relating to Frank Dunn, 35 (2019-05-01)
22! requested from Nortel by IMET on luty 10 2008 (pg: serial 64250663}
tl Nortel did not meet the request. 2016-06-16 ee

Paga S

Case 09-10138-MFW Doc 4118-4 Filed 10/07/10 Page 8of8

B07

TORONTO (MET

1?edd

JUN-16-2010

DISCLOSURE REQUESTS AS ITEMIZED IN JUNE 4, 2010 DEFENCE CHART

TOTAT, P.f07

416 790 3209

the Imaged hard drives have heen printed:
Printouts can be found in the TCU reports
{lteminunn 525 - 524) préviousty méationed in
Request f24.

Disclosure Requestad by Defence eee Crown Response —_ eae Follew Up by Defence
Please confirm (1) that the RCMP and/or the Crown has requested from 2005;09-24 |No-Besponse 2009-12-02 Please provide requested disclosure.
Mortel all the information that Nortel has provided to the Ontario Securitles (2010-06:02}
Commission (the ‘OSC ).and to. the U.S. Securities Exchange Commission tthe We already have retewedall the requested (2010-66-16
23/"SEC}. (2) that the REMP and/or the Crowahas, tothe. best of your information that Nortel has provided tothe GSC
knowkedge, received sate, and (3) that all of this material has Been disclosed and tha SEC from Nortel, and we disclosed all the
tothe defence. information ceceived from Noctel.
Location in Supertext of materials fram imaged hard drives ol accused that {2010-03-25 [No Response Plesse provide requested disclosure:
has already been disclosed. (2010.06.07)
SuperText ItemMumm{539) to ItemNum|524] 2010-06-16
24 contain Integrated Technological Crime Unit
{ITCU} reports, which Is to be disclosed on 2010.
07-15. The reports will fulfill the request.
Pleese provide us with the number of documents fram the imaged hard 2010-62-25 [No Response Please provide requested disclosure.
drives that still need to be manually revtewved by the |MET investigators, (2019-04-01)
when the task will be complete, and when we will recelve thls Hiselocy ys. All of the manually reviewed documenta from 2016-06-16.

Page &
